Case 2:13-cr-06070-SAB       ECF No. 55   filed 05/13/14   PageID.236   Page 1 of 3




  1   Rick L. Hoffman
      Federal Defenders of Eastern Washington and Idaho
  2   306 East Chestnut Avenue
      Yakima, Washington 98901
  3   (509) 248-8920

  4   Attorneys for Defendant

  5                           UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WASHINGTON
  6

  7   UNITED STATES OF AMERICA,                     2:13-CR-6070-WFN

  8             Plaintiff,                          SUPPLEMENTAL MEMORANDUM
                                                    REGARDING PRE-SENTENCE
  9     vs.                                         INVESTIGATION REPORT

 10   KENNETH RICHARD ROWELL,

 11
                Defendant.
 12
      To:     MICHAEL C. ORMSBY, UNITED STATES ATTORNEY
 13           ALEXANDER C. EKSTROM, ASSISTANT UNITED STATES ATTORNEY

 14
              KENNETH RICHARD ROWELL, through counsel, Rick L.
 15
      Hoffman for the Federal Defenders of Eastern Washington and Idaho,
 16
      submits the following memorandum regarding the presentence
 17
      investigation report filed herein.
 18
              To the Bureau of Prisons (BOP), a defendant’s presentence
 19
      investigation report (PSIR) is of paramount importance to both the
 20
      defendant and to BOP. It impacts every aspect and element of the
 21
      defendant’s time in custody. United States v. Brown, 715 F.2d 387 (5th
 22
      Cir. 1983). This literally includes the original designation to an
 23
      SUPPLEMENTAL MEMORANDUM
 24   REGARDING PRE-SENTENCE
      INVESTIGATION REPORT                      1
Case 2:13-cr-06070-SAB   ECF No. 55   filed 05/13/14   PageID.237   Page 2 of 3




  1   institution, classification within an institution, security level

  2   determinations, eligibility for programs while in the institution, which

  3   includes educational opportunities and vocational training, providing of

  4   medical and mental health programs and pre-release considerations,

  5   such as furlough and half-way house options.

  6        A sentencing court has the authority and duty to consider the PSIR

  7   and order modifications/deletions before the report is forwarded to BOP.

  8   F.R.Cr.P. § 32(i)(3); United States v. Petti, 513 F.2d 572 (9th Cir. 1975).

  9   Here, Mr. Rowell suggests that the information set forth in the

 10   presentence investigation report, ECF 52, at page 11, paragraphs 54 -57,

 11   inordinately impacts the defendant as he enters BOP, is prejudicial to

 12   his placement in BOP and his custody status, programs and release

 13   options, and that this prejudice far outweighs the need or necessity for

 14   this PSIR provision from being in the report.

 15        Mr. Rowell respectfully requests that the indicated portion of the

 16   PSIR be deleted from the report.

 17   //

 18   //

 19   //

 20   //

 21   //

 22   //

 23
      SUPPLEMENTAL MEMORANDUM
 24   REGARDING PRE-SENTENCE
      INVESTIGATION REPORT                  2
Case 2:13-cr-06070-SAB   ECF No. 55     filed 05/13/14   PageID.238   Page 3 of 3




  1   Dated:     May 13, 2014

  2                                   Respectfully Submitted,

  3                                   S/ Rick L. Hoffman
                                      Rick L. Hoffman,
  4                                   Attorney for Kenneth Richard Rowell
                                      Federal Defenders of
  5                                   Eastern Washington and Idaho
                                      306 East Chestnut Avenue
  6                                   Yakima, Washington 98901
                                      (509) 248-8920
  7                                   (509) 248-9118
                                      Email: Rick_Hoffman@fd.org
  8

  9                        CERTIFICATE OF SERVICE

 10        I hereby certify that on May 13, 2014, I electronically filed the

 11   foregoing with the Clerk of the Court using the CM/ECF System which

 12   will send notification of such filing to the following: ALEXANDER C.

 13   EKSTROM, Assistant United States Attorney.

 14
                                      S/ Rick L. Hoffman
 15                                   Rick L. Hoffman,

 16

 17

 18

 19

 20

 21

 22

 23
      SUPPLEMENTAL MEMORANDUM
 24   REGARDING PRE-SENTENCE
      INVESTIGATION REPORT                    3
